Case 2:19-cr-20026-GAD-EAS ECF No. 130-10 filed 01/02/20 PagelD.1005 Page1of7

Exhibit J

Karnati Charitable Donations
Case 2:19-cr-20026-GAD-EAS ECF No. 130-10 filed 01/02/20 PagelD.1006 Page 2of7

9/10/2019

1 Gmail

Gmail - Hindu Temple of Kentucky Transaction Information

Phanideep Karnati <kphanideep217@gmail.com>

 

Hindu Temple of Kentucky Transaction Information

 

Hindu Temple of Kentucky <temple@htky.com>
To: kphanideep217@gmail.com
Cc: homa@ventechsolutions.com

          
 

_ Dear PHANIDEEP KARNATI,

% % MM HO ke RO OK OM OM OE OR

Wed, Aug 7, 2013 at 8:58 PM

Hindu Temple of Kentucky,

4213 Accomack Drive, Louisvillie, KY 40241

Thank you for performing transaction on our site. Please find below the details of your transaction(s).

Date: 08/07/2013 8:58 PM
Receipt No: 3988

 

SI.No |Service Name Qty

Amount ($)

Total ($)

 

 

SATYA. KATHA PS IN HALL ( 1. Non {

q Member )

 

125.00

 

 

 

Total Amount Paid ($)

 

 

 

Payment Mode: Credit Card / Debit Card Manual - VPOSVPOS Order Number: 175182

If you have additional questions, please contact the Temple Administrator for further assistance,

 

 

May God Shower their choicest blessing upon you and your Family

 

 

Regards,

Hindu Temple of Kentucky
4213 Accamack Drive,
Louisville, KY 40241

(502) 429 8888
http:/Avww. htky.org
temple@htky.com

 

This email was sent to knhanideep217@gmail.com by temple@htky.com.

We respect your privacy and do not share your personal information, Review our Privacy Palicy.

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125.00
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Case 2:19-cr-20026-GAD-EAS ECF No. 130-10 filed 01/02/20 PagelD.1007 Page3of7

9/10/2019 Gmail - Hindu Temple of Kentucky Transaction Information

™m (5 ma il Phanideep Karnati <kphanideep217@gmail.com>

 

Hindu Temple of Kentucky Transaction Information

 

Hindu Temple of Kentucky <temple@htky.com>
To: kphanideep217@gmail.com
Cc: homa@ventechsolutions.com

  
  

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Dear PHANIDEEP KARNATI,

Sun, May 3, 2015 at 6:02 PM

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Hindu Temple of Kentucky

4213 Accomack Drive, Louisvillie, KY 40241

Thank you for performing transaction on our site. Please find below the details of your transaction(s).

Date: 05/03/2015 6:02 PM
Receipt No: 7888

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sl.No {Service Name Qty Amount ($) Total ($)
1 SATYANARAYANA KATHA TS 1 51.00 51.00
Total Amount Paid ($) 51.00
Payment Mode: Credit Card / Debit Card Manual - VPOSVPOS Order Number: 02481B
If you have additional questions, please contact the Temple Administrator for further assistance.
May God Shower their choicest blessing upon you and your Family
Regards,
Hindu Temple of Kentucky
4213 Accomack Drive,
Louisville, KY 40241
(502) 429 8888
http:/Awww. htky.org
temple@htky.com
f
wee
This email was sent to kphanideep217@gmail.com by temple@htky.com. Penennt by ie X
We respect your privacy and do not share your personal informatian, Review our Privacy Policy. me ©O i pay
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Case 2:19-cr-20026-GAD-EAS ECF No. 130-10 filed 01/02/20 PagelD.1008 Page 4of7
9/0/2019 Gmail - HECSA Portland Balaji Temple 2016 Donations Tax Statement

Mm Gmail Phanideep Karnati <kphanideep217@gmail.com>

 

HECSA Portland Balaji Temple 2016 Donations Tax Statement

 

HECSA <hecsapdx@gmail.com> Fri, Feb 3, 2017 at 10:41 PM
To: Kphanideep217@gmail.com

   

ao. Om Venkateswaraya Nama:
“>\, Hindu Educational & Cultural Society of America
, Portland Balaji Temple
A Non-Profit Organization Tax Exempt ID; #XX-XXXXXXX
2092 NW Aloclek Drive, #Suite 522, Hillsboro, OR97124
PH: 503.621.7716 / 503.430.7270 Fax No: 503-488-5543
Website: www-ebalajitemple.org

 

Friday, February 3, 2017
Dear Mr. / Mrs. Karnati, Phanideep,

On behalf of HECSA — Portland Balaji Temple, | would like to thank you for your generous contribution of $251.00 for
2016. Your contribution has made it possible for us to continue to celebrate and support of all of our festivals, educational,
cultural and social activities.

During 2016, HECSA celebrated many religious events and cultural programs. This has been possible because of
thoughtful contributions from Devotees like you.

We look forward to your continued support and patronage in the future.
Please retain this acknowledgment for your generous contribution for your 2016 tax records.

We are sincerely grateful for your support. Please do not hesitate to contact me should you have any further questions,
missing receipts for this total from your online account on (503-621-7716) or (hecsa@outlook.com). Once again thank
you for your generous contribution.

Respectfully,
Sundarrajan Rajagopal

Founder and President
HECSA — Portland Balaji Temple

No goods or services were received for this donation. The (HECSA) is a tax-exempt charity under the IRS code section 501¢3, tax
ID# (XX-XXXXXXX).

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Case 2:19-cr-20026-GAD-EAS ECF No. 130-10 filed 01/02/20 PagelD.1009 Page5of7

9/10/2019 Gmail - Hindu Temple of Kentucky Transaction Information

Mm (im all Phanideep Karnati <kphanideep217@gmail.com>

 

Hindu Temple of Kentucky Transaction Information

 

Hindu Temple of Kentucky <temple@htky.com> Wed, Feb 1, 2017 at 10:51 AM
To: kphanideep217@gmail.cam
Cc: homa@ventechsolutions.com

 

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at

Hindu Temple of Kentucky

4213 Accomack Drive, Louisvillie, KY 40241 |

Dear PHANIDEEP KARNATI,

Thank you for performing transaction on our site. Please find below the details of your transaction(s).

‘Date: 02/01/2017 10:51 AM
Receipt No: 11956

 

SI.No |Service Name : , aty Amount ($) Total ($)
1 Donation 1 51.00 51.00
Total Amount Paid ($) 51.00

 

 

 

 

 

 

 

 

 

Payment Mode: Credit Card / Debit Card Manual - VPOSVPOS Order Number: 04797C

If you have additional questions, please contact the Temple Administrator for further assistance.

 

May God Shower their choicest blessing upon you and your Family

 

 

 

Regards,

Hindu Temple of Kentucky
4213 Accomack Drive,
Louisville, KY 40241

(502) 429 8888
http://www. htky.org
temple@htky.com

 

  
 

Powered by

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iO

This email was sent to kphanideep217@gmail.com by temple@htky.com.

We respect your privacy and do not share your personal information, Review our Privacy Policy.

 

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“ey Pedapadu Mandal, West Godavari District, A.P india Ph - 08656-242715
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NORTH SOUTH FOUNDATION

Encouraging Excellence tw Education

September 13th, 2019

To whom it may concern:

North South Organization (NSF) is a non-profit organization established in 1989 with a mission
of providing scholarships to brilliant, needy students in India and to promote excellence in
education by conducting academic contests and coaching in USA. NSF provides online coaching
programs for SAT, MathCounts, Elementary Math, Science Bee, Geography Bee to name a few.

Phanideep Karnati volunteered as a coach for Intermediate Science level program from October
2016 - February 2017. The weekly classes were taught online using conferencing tools for virtual
classroom. Phanideep aided in NSF’s mission to promote excellence in education in America.

Phanideep spent 45 hours in actual class time and preparation for class, homework, student and
parent communication etc. He has been a valuable source for students with his coaching.

Phanideep’s volunteering helps our program immensely. His initiative shows true dedication to
further education of students, who prepare to succeed in Science. We hope he continues to help
us in the future and keep up with his commitment to educate children wishing to develop skills in
academics outside of school.

Sincerely,

—™ ACen

Praveen Goli
NSF Online Coaching Director

? Marissa Ct, Burr Ridge, IL 60527 ph:(630) 323-1966 fax:(630) 323-2982
www, northsouth.org
